      Case 18-01475        Doc 139       Filed 03/27/19 Entered 03/27/19 08:41:16               Desc Cancel
                                              Hearing Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF IOWA
                                                                  CHAPTER 7
In Re:                                                            Bankruptcy No.

Douglas D. Warthan                                                18−01475

Debtor(s)



                          NOTICE CANCELLING HEARING
              ON TRUSTEE'S MOTION FOR SUMMARY JUDGMENT (Doc. 99)



TO:
Bradley R. Kruse, Attorney for Debtor(s)
Renee K. Hanrahan, Trustee
United States Trustee



NOTICE IS HEREBY GIVEN that the above matter(s) scheduled for March 29, 2019 at 10:30 a.m. is hereby
CANCELLED.



Debtor filed his Response to Trustee's Motion for Summary Judgment (See Doc. 133) and withdrew his exemption
pursuant to Iowa Code Sec. 627.6(16) set for in his Schedule C. Debtor is directed to file an appropriate amendment to
his Schedules. Trustee's Motion is, therefore, moot.


                                                           MEGAN R. WEISS
                                                           Acting Clerk, Bankruptcy Court
                                                           by:



Date: March 27, 2019                                       Deputy Clerk
                                                           United States Bankruptcy Court
                                                           Northern District of Iowa
                                                           111 Seventh Avenue SE Box 15
                                                           Cedar Rapids, IA 52401−2101
